            EXHIBIT 1




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                                                                                                US009044917Bl


c12)   United States Patent                                                (10) Patent No.:                       US 9,044,917 Bl
       Terracino et al.                                                    (45) Date of Patent:                                Jun. 2, 2015


(54)   NON-SKID PROTECTIVE CLOTH OR PAD                                (56)                       References Cited

(71)   Applicants:Bradie Terracino, Virginia Beach, VA                                    U.S. PATENT DOCUMENTS
                  (US); Robert Terracino, Virginia Beach,                   2,274,468 A * 2/1942 Bell                               112/421
                  VA (US)                                                   3,565,661 A * 2/1971 Harrison ....................... 428/172
                                                                            3,627,566 A * 12/1971 Stichter et al. .................. 428/95
(72)   Inventors: Bradie Terracino, Virginia Beach, VA                      5,567,497 A * 10/1996 Zegler et al. .................... 428/95
                  (US); Robert Terracino, Virginia Beach,                   6,162,748 A * 12/2000 Schilling et al ............... 442/226
                                                                        2009/0220797 Al * 9/2009 Tresino ......................... 428/421
                  VA (US)
                                                                                             OTHER PUBLICATIONS
( *)   Notice:      Subject to any disclaimer, the term ofthis
                                                                       PolyOne's Geon Plastisol coatings, 2010.*
                    patent is extended or adjusted under 35            Test Report No: 3235547PP02R3, Static Coefficient of Friction
                    U.S.C. 154(b) by O days.                           (Slide Angle Method), TAPPI T548.
                                                                       Test Report No: 3235547PP0 1R2, Static Coefficient of Friction
(21)   Appl. No.: 14/044,130                                           (Horizontal Pull Method) ASTM Cl028-07.

(22)   Filed:       Oct. 2, 2013                                       * cited by examiner

                                                                      Primary Examiner - Jennifer Chriss
                                                                      Assistant Examiner - Ricardo E Lopez
                 Related U.S. Application Data
                                                                      (74) Attorney, Agent, or Firm - William G. Sykes
(63)   Continuation-in-part of application No. 12/460,763,
       filed on Jul. 27, 2009, now abandoned.                          (57)                          ABSTRACT
                                                                      A two-layer, non-skid protective cloth or pad for use as a
(51)   Int. Cl.                                                       painter's drop cloth or as a protective pad for surfaces such as
       B32B 9/00                    (2006.01)                         boat decks, airplane wings or other surfaces where a non-skid
       D06N 7100                    (2006.01)                         pad is essential. The pad has a woven upper member, typically
       B32B 3/00                    (2006.01)                         of a cotton canvas-like material, and a lower, resilient mem-
       B32B 3/30                    (2006.01)                         ber. The two layers are typically stitched together. The lower,
       B32B 5102                    (2006.01)                         resilient member typically comprises downward-projecting
       B32B 7104                    (2006.01)                         bumps, often of two or more different sizes. The bumps are
                                                                      joined by a grid of resilient material. Bumps may be formed
(52)   U.S. Cl.
                                                                      from a foamed thermoset plastic resin. In alternate embodi-
       CPC . B32B 3/30 (2013.01); B32B 51024 (2013.01);               ments, an impervious member may be inserted between the
                                            B32B 7104 (2013.01)       upper and lower members. The non-skid protective cloth or
(58)   Field of Classification Search                                 pad has a Sliding Coefficient of Friction greater than 0.7 5 and
       CPC ..................... B32B 27/20-27/32; D03D 15/00         an average Slide Angle no less than approximately 40° mea-
       USPC .......... 442/181-303; 428/100, 102,120,172,             sured in accordance with TAPPI T548 specification.
                                              428/179, 141-155
       See application file for complete search history.                                  10 Claims, 6 Drawing Sheets



                                                                                                                                   100
                                                                                                                                 )
                                                                     102




                                            106a



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                               106b              104
                                                   )

                                                       108




                        lipure 2




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                                             412



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                               Fig. 4




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Static Coefficient of Friction (Slide Angle Method)
                 430      TAPPI T548
                       ~                             r-432


                        Slide Angle Static Coefficient
      Specimen
                       (in Degrees)    of Friction
             1               39.8                   0.8
                                                                             N
             2               50.7                   1.2
                                                                             ....
                                                                             0
                                                                             Ul
             3               43.1                   0.9

             4               39.8                   0.8

             5               42.4                   0.9


          Avg.               43.2                   0.9 -              438
                               \.

                                               -      436
      Notes: Sample ID: Painters Drop Cloth and Pad
             Surface Tested Against: Laminated Wood Flooring
             Lab Environment: Temperature 23° C, Humidity 50% +--440
             Specimen Conditioning: 24 hours minimum




                               Fig. 5


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      Static Coefficient of Friction (ASTM C 1028-07)
    450    ~          452--..____                             ,,.,---454

           Specimen
                                    '\,     Pull Force      1
                                     Dry                   Wet
                 1                   40.0                  36.0
                 2                   39.7                  33.1
                 3                   39.5                  34.7
                 4                   40.3                  35.5                      N
                 5                   39.4                  34.4                      ....
                                                                                     0
                                                                                     Ul
                 6                   40.0                  36.0
                 7                   40.3                  38.8
                 8                   40.1                  39.4
                 9                   38.9                  37.5
                 10                  39.6                  37.3
                 11                  39.3                  35.6
                 12                  41.8                  36.1

              Avg.Static
               Coefficient          0.814                  0.589


                                      "
              of Friction                                                      458

             Requirement
                (min)                45✓        0.5             460

          Notes: Sample ID: Painters Drop Cloth and Pad               +--462
                 Surface Tested Against: Laminated Wood Flooring
                 Neolite Sled Weight: 56 lbs
                 Lab Environment: Temperature 23° C, Humidity 50%
Fig. 6           Specimen Conditioning: 24 hours minimum




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      NON-SKID PROTECTIVE CLOTH OR PAD                                 shows an improved floor covering and a process for making
                                                                       the same. A base material in sheet form having a coating of a
                   RELATED APPLICATIONS                                thermoplastic material such as polyvinyl chloride impreg-
                                                                       nated with an abrasive substance in grit form. A second coat-
   This application is a Continuation-in-Part of U.S. patent 5 ing of a thermoplastic material is preferably applied over the
application Ser. No. 12/460,763 filed Jul. 27, 2009 for NON-           first coating also containing an abrasive in grit form to which
SKID PROTECTIVE CLOTH OR PAD that is incorporated                      silicon carbide is sprinkled thereover. The tread surface of the
herein in its entirety by reference.                                   floor covering is embossed to provide small indentations
                                                                       therein.
                  FIELD OF THE INVENTION                            10    U.S. Pat. No. 5,567,497 for SKID-RESISTANT FLOOR
                                                                       COVERING AND METHOD OF MAKING SAME issued
   The invention pertains to protective cloths or pads and,            Oct. 22, 1996 to Stephen A. Zegler et al. provides a floor
more particularly, to a protective cloth or pad that has a             covering comprising a floor covering face layer having a
non-skid backing to hold the cloth or pad in position during           thermoplastic lower backing layer and a thermoplastic con-
use.                                                                15 tact layer that is fusibly compatible with the lower backing
                                                                       layer is disclosed. The upper surface of the contact layer is
           BACKGROUND OF THE INVENTION                                 fused to the lower backing layer and the lower surface of the
                                                                       contact layer includes a plurality of shallow thermoplastic
   Protective cloths and pads are well known and widely used.          projections which extend away from the floor covering face
Such items range from simple thin polyethylene sheets used 20 layer and which are sufficiently elastic to impart skid resis-
to protect surfaces during painting or similar operations to           tance to the floor covering.
woven fabric (e.g., canvas) drop cloths to quilted protective             U.S. Pat. No. 6,093,469 for MAT AND METHOD OF
pads used by furniture movers and the like. For simplicity, the        MAKING MAT issued Jul. 25, 2000 to Michael T. Callas
term drop cloth as used herein refers to any and all such cloths       discloses an entrance mat having a polypropylene greige fiber
and pads, regardless of material or construction.                   25 pad with a trimmed outer peripheral edge and a backing of
   In a typical use, drop cloths are placed on floors to provide       non-skid plastic material. The backing has longitudinal treads
protection. A common and serious problem is that frequently            having high friction and tacky properties which prevent creep
the drop cloths of the prior art may slip and slide relative to the    and folding of the pad on a floor. An edge has a non-skid web
floor upon which they are laid. Such slippage may range from           secured with an adhesive to the backing and a lip extended
a mild annoyance to a serious safety hazard when a drop cloth 30 over the adhesively secured to the trimmed outer peripheral
is placed upon a level floor. However, once such a drop cloth          edge.
is used on a surface other than a level floor, the consequences           U.S. Pat. No. 6,296,919 for CUSHIONED CARPETED
of such slippage become much more serious. For example,                FLOOR MAT WITH A LEAST ONE CUSHIONING INTE-
drop cloths are commonly used to protect stairs. If the drop           GRATED RUBBER PROTRUSION issued Oct. 2, 2001 to
cloth slips, it is not uncommon for a person ascending or 35 James N. Rockwell, Jr., et al. provides a cushioned floor
descending the stairs to slip and potentially tumble to the            covering article wherein the mat includes a tufted carpet
bottom of the stairs. Serious injuries frequently result from          placed on the top side of a foam rubber sheet and at least one
such a fall.                                                           foam rubber protrusion integrated within at least a portion of
                                                                       the bottom side of the foam rubber sheet. Such an article
           DISCUSSION OF THE RELATED ART                            40 provides effective removal of moisture, dirt, and debris from
                                                                       the footwear of pedestrians through the utilization of a carpet
   Several attempts have been made in the prior art to provide         pile component. Furthermore, the utilization of a foam rubber
a non-slip surface for drop cloths and the like. For example,          backing also allows for either periodic heavy duty industrial-
U.S. Pat. No. 152,451 for IMPROVEMENT IN WATER-                        scale laundering in such standard washing machines or peri-
PROOF FABRICS, issued Jun. 30, 1874 to George M. Aller- 45 odic washing and drying in standard in-home machines, both
ton discloses a woven woolen cloth having one surface cov-             without appreciably damaging the inventive floor covering
ered with a rubber film.                                               article, such as a floor mat.
   U.S. Pat. No. 1,728,545 for LINEMAN'S BLANKET,                         U.S. Pat. No. 6,610,382 for FRICTION CONTROL
issued Sep. 17, 1929 to Fred L. Haushalter provides a dielec-          ARTICLE FOR WET AND DRY APPLICATIONS issued
tric structure formed by a rubber insulating sheet and a fabric 50 Aug. 26, 2003 to James J. Kobe et al. teaches a friction control
backing sheet to prevent stretching of the rubber.                     article including a backing layer having a first surface with an
   U.S. Pat. No. 1,928,943 for MATTRESS PROTECTOR,                     array of at least 100 upstanding stems per square inch and a
issued Oct. 3, 1933 to John L. McKay teaches a waterproof              second surface. At least a portion of the upstanding stems is an
sheet having eyelets disposed near its comers. Loops attached          elastomeric material and the stems have an aspect ratio of at
to the eyelets are used to secure the mattress protector, 55 least 1.25. The first surface has a static coefficient of friction
thereby preventing the slipping of the mattress protector on           when dry of at least 0.6 and a static coefficient of friction
the mattress it is protecting.                                         when wet within 20% of the static coefficient of friction when
   U.S. Pat. No. 2,274,468 for FLOOR COVERING issued                   dry. The first surface has a peel strength and a tensile strength
Feb. 24, 1942 to Harry W. Bell provides an improved type of            of substantially zero when engaged with another slip control
floor mat. It is an object of this invention to provide a floor mat 60 article. The first surface has relatively high shear strength
which affords a high degree of traction.                               when engaged with another slip control article. The high
   U.S. Pat. No. 3,488,684 for FLOOR COVERING issued                   shear forces are due primarily to the frictional properties of
Jan. 6, 1970to John C. Wrightson shows a quilted, three-layer          the elastomeric materials, not a mechanical interlock of the
construction having a non-skid bottom layer for use as deco-           stems, such as on a mechanical fastener.
rative rug.                                                         65    Published United States Patent Application No. 2001/
   U.S. Pat. No. 3,565,661 for FLOOR COVERINGS AND                     0002615 for PROTECTIVE COVER SYSTEM, published
THE LIKE issued Feb. 23, 1971 to Alan Morley Harrison                  Jun. 7, 2001 upon application by Reginald Michael Lacross et
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al. discloses a covering system in which a cover constructed         term "bump" is used herein to refer to such spherical, quasi-
of a flexible sheet material is suitable for placement on a floor    spherical, and/or amorphous protrusions. The bumps are
between a door frame and a room.                                     joined by a grid of resilient material. In alternate embodi-
   U.S. Pat. No. 6,911,407 for NON-SLIP ABSORBENT                    ments, an impervious member may be inserted between the
ARTICLE issued Jun. 28, 2005 to Earle H. Sherrod et al. 5 upper and lower members.
shows a multi-layer absorbent article suitable for use as a bed         As the terms "non-skid" or "skid resistant" applied to
pad, a baby changing pad, a table cloth, etc. A non-adhesive,        articles used in trade convey little if any information regard-
skid-resistant coating is applied to the bottom layer of the         ing the performance of an article bearing such a label. Con-
article.                                                             sequently, a potential user of a protective cloth or pad has no
   U.S. Pat. No. 6,946,163 for SLIP RESISTANT MAT 10 way of knowing how a particular cloth or pad so labeled will
issued Sep. 20, 2005 to Ian S. Malpass et al. teaches a slip         perform in a particular application and/or environment.
resistant floor mat composed of one or more layers of material
                                                                        The novel structure of the non-skid cloth or pad of the
the bottom layer of which incorporates a plurality of reces-
                                                                     present invention has been tested to determine a Static Coef-
sions with inset suction cups in the bottom surface of the
                                                                     ficient of Friction in accordance with the TAPPI T-548 stan-
bottom.                                                           15
   U.S. Pat. Nos. 6,961,969, 7,069,607, and 7,137,157, each          dard and a static and Kinetic Coefficient of Friction by Hori-
for ABSORBENT TOWEL WITH PROJECTIONS, issued                         zontal Plane in accordance with the ASTM C1028-07
Nov. 8, 2005, Jul. 4, 2006, and Nov. 21, 2006, respectively, to      standard. This testing is discussed in detail hereinbelow. The
Susan Nichols each provide a towel having a base layer with          acronym "TAPPI" stands for Technical Association of the
raised projections to provide a higher coefficient of static 20 Pulp and Paper Industry. While the novel non-skid drop cloth
friction relative to an external surface relative to other bottom    of the present invention is not a "paper" product, it is an
surfaces common in the prior art.                                    extremely flexible and substrate-hugging sheet. Conse-
   United States Published Patent Application No. 2006/              quently, tests, specifically TAPPI T548 and AS TM Cl 028-07
0162073 for ABSORBENT TOWEL WITH PROJEC-                             are suitable and effective tests for determining the Coefficient
TIONS, published Jul. 27, 2006 upon application by Susan 25 of Friction of the novel non-skid drop cloth of the invention.
Nichols shows a towel having a base layer with raised pro-              It is, therefore, an object of the invention to provide a
jections to provide a higher coefficient of static friction rela-    protective cloth or pad that includes a resilient, non-skid
tive to an external surface relative to other bottom surfaces        surface to prevent movement of the cloth or pad on the surface
common in the prior art.                                             upon which it is placed.
   United States Published Patent Application No. 2007/ 30              It is another object of the invention to provide a protective
0220673 for CLOTHING ARTICLES HAVING RAISED                          cloth or pad which is conformable to irregular surfaces such
PROJECTIONS, published Sep. 27, 2007 upon application                as stairs and remains in position once placed thereupon.
by Susan Nichols shows a towel having a base layer with                 It is an additional object of the invention to provide a
raised projections to provide a higher coefficient of static         protective cloth or pad that has a resilient lower member
friction than the base layer relative to an external surface.     35 having a grid of downward protruding, interconnected
   United States Published Patent Application No. 2007/              bumps.
0275209 for NON-SKID DROP CLOTH, published Nov. 29,                     It is a further object of the invention to provide a protective
2007 upon application by Anal Netravali et al. discloses a           cloth or pad that utilizes materials wherein Van Der Walls
single layer plastic sheet having raised dimples on one or both      forces help provide the desired frictional characteristics.
sides.                                                            40    It is yet another object of the invention to provide a protec-
   United States Published Patent Application No. 2008/              tive cloth or pad that utilizes hydrophobic thermoset resin
0131680 for ABSORBENT NON-SKID DROP CLOTH,                           plastic materials.
published Jun. 5, 2008 upon application by Richard James                It is an additional object of this invention wherein the
Bliton et al. teaches a multi-layer article having a lofted,         "bumps" are formed from hydrophobic materials.
non-woven layer and a non-skid barrier layer bonded thereto. 45         It is a further object of the invention to provide a protective
   United States Published Patent Application No. 2009/              cloth or pad having a woven fabric upper member.
0068431 for ONE-SIDED TACKY POLYOLEFIN FILM,                            It is a still further object of the invention to provide a
published Mar. 12, 2009 upon application by Martin F. Hoe-           protective cloth or pad that, optionally, may contain an inter-
nigmann provides a plastic sheet with a tacky surface                posed impervious member.
designed to prevent slippage of the sheet                         50    It is an additional object of the invention to provide a
   None of the patents and published patent applications,            protective cloth or pad having a Static Coefficient of Friction
taken singly, or in any combination are seen to teach or             greater than approximately O. 7 5 measured in accordance with
suggest the novel non-skid protective cloth or pad of the            TAPPI T548 (Slide Angle method).
present invention.
                                                                  55          BRIEF DESCRIPTION OF THE DRAWINGS
              SUMMARY OF THE INVENTION
                                                                        Various objects, features, and attendant advantages of the
   In accordance with the present invention there is provided        present invention will become more fully appreciated as the
a two-layer, non-skid protective pad for use as a painter's drop     same becomes better understood when considered in con-
cloth or as a protective pad for surfaces such as boat decks, 60 junction with the accompanying drawings, in which like ref-
airplane wings or other surfaces where a non-skid, protective        erence characters designate the same or similar parts through-
pad is essential. The pad has a woven upper member, typically        out the several views, and wherein:
of a cotton canvas-like material, and a lower, resilient mem-           FIG. 1 is a side, elevational, cross-sectional, schematic
ber. The two layers are typically stitched together. The lower,      view of a portion of the non-skid protective cloth or pad in
resilient member typically comprises downward-projecting, 65 accordance with the invention;
spherical, quasi-spherical, and/or amorphous protrusions                FIG. 2 is a bottom plan view of the resilient layer of the
often of two or more different sizes and/or diameters. The           non-skid protective cloth or pad of FIG. 1;
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   FIG. 3 is a side elevational, cross-sectional, schematic view     any two larger bumps 106a or between any two smaller
of the non-skid protective cloth or pad of FIG. 1 but contain-       bumps 106b as well as between larger bump 106a and smaller
ing an interposed impervious layer;                                  bump 106b as shown for purposes of disclosure.
   FIG. 4 is a perspective, schematic view of a slide angle             Bumps 106a, 106b may be formed from of a foamed ther-
testing apparatus for performing Coefficient of Friction test- 5 moset plastic resin. When the bumps 106a, 106b are com-
ing in accordance with the TAPPI T548 standard;                      pressed by an object or a person standing on non-skid protec-
   FIG. 5 is a table of results measured by testing samples of       tive cloth or pad 100, the grip or friction on either wet or dry
the non-skid drop cloth of the present invention using the           surfaces is exceptional. This gripping is caused by the com-
apparatus of FIG. 4 to perform a Coefficient of Friction test in     pressed areas spreading under the load, and therefore having
accordance with the TAPPI T-548 standard; and                     10 greater contact surface with the substrate and, consequently,
   FIG. 6 is a table of Coefficient of Friction results measured     producing higher Van Der Waals forces to keep the non-skid
by testing samples of the non-skid drop cloth of the present         protective drop or pad stationary.
invention in accordance with the AS TM C-1028-07 standard.              In operation, non-skid protective cloth or pad 100 is placed
                                                                     on a surface to be protected, not shown, resilient layer 104
    DETAILED DESCRIPTION OF THE PREFERRED                         15 towards the surface. Bumps 106a, 106b grip the surface,
                        EMBODIMENT                                   especially when compressed by the weight of a person, not
                                                                     shown, directly over a particular portion of non-skid protec-
   The present invention provides non-skid protective cloth or       tive cloth or pad 100.
pad for a variety of applications.                                      One exemplary use of non-skid protective cloth or pad 100
   Referring first to FIG. 1, there is shown a side, elevational, 20 is to protect a surface from paint, varnish, stain, etc. The
cross-sectional, schematic view of a portion of the non-skid         choice of material for upper woven layer 102 allows paint or
protective cloth or pad in accordance with the invention,            other material to be at least partially absorbed by the layer.
generally at reference number 100.                                   Canvas is a typical material selected for upper woven layer
   Non-skid protective cloth or pad 100 has two layers-a             102. Unlike impervious drop cloths (i.e., thin plastic sheets),
woven upper layer 102 and a lower, resilient layer 104. Woven 25 the partially absorbed paint is typically less prone to tracking
upper layer 102 is typically an absorbent, woven cotton mate-        by a person stepping in the spilled paint than is paint spilled
rial such as canvas or another canvas-like material. For pur-        on a non-absorbing cloth of the prior art. In addition, non-skid
poses of disclosure, an 8-ounce material has been chosen.            protective cloth or pad 100 may be laundered to remove
Canvas may be treated with a waterproofing material, if              soluble paint or other materials.
desired. Such a treatment, however, renders the upper woven 30          Non-skid protective cloth or pad 100 may also be utilized
layer 102 non-absorbent which may impair the function of             to protect a delicate surface from being scratched or marred.
upper woven layer 102 to absorb paint or other material              One environment where non-skid protective cloth or pad 100
spilled thereupon. It will, however, be recognized by those of       is particularly useful is on a set of stairs. Once positioned,
skill in the art that other weight materials may be chosen           non-skid protective cloth or pad 100 remains in place, thereby
depending upon the desired application in which non-skid 35 providing a safe, stable surface on the stairs as workmen
protective cloth or pad 100 is to be utilized. It will further be    ascend and descend the stairs. It will be recognized that the
recognized that woven materials other than cotton may be             choice of materials, weights, thicknesses, etc will determine
selected to meet a particular operating circumstance or envi-        the overall flexibility of non-skid protective cloth or pad 100
ronment. Consequently, the invention is not limited to the           for applications such as stairs.
8-ounce canvas chosen for purposes of disclosure. Rather the 40         An example of the use of non-skid protective cloth or pad
invention covers any suitable material and weight.                   100 as a protective pad, maintenance routines periodically
   A lower, resilient layer 104 is bonded to woven upper layer       require mechanics to walk on the upper surface of an airplane
102, typically by stitching 112. It will be recognized that          wing. The use of non-skid protective cloth or pad 100 on the
methods and/or materials other than stitching may be utilized        wing not only protects the delicate wing surface but provides
to secure upper woven layer 102 to lower, resilient layer 104. 45 a much more secure surface upon which the mechanic may
Some possible choices include, but are not limited to adhesive       walk or stand. Even though the surface of the wing is typically
fastening, hook-and-loop fasteners, mechanical fasteners,            curved, the novel construction of non-skid protective cloth or
etc. A "mechanical" fastening method (e.g., stitching, etc.)         pad 100 greatly improves the security of the mechanic.
rather than a chemical, thermal fusing, or any other type of            Another exemplary use of non-skid protective cloth or pad
bonding is shown. However, it will be recognized that a 50 100 is to protect delicate surfaces of boat decks in an envi-
non-mechanical method of fastening lower, resilient layer            ronment where they frequently become wet and slippery.
104 to woven upper layer 102 may be desirable to meet a              Non-skid protective cloth or pad 100 remains in place on the
specific operating circumstance or environment.                      deck, even wet, and provides anon-slip upper surface (i.e., the
   Referring now also to FIG. 2, lower resilient layer 104 has       upper surface of upper woven layer 102) upon which boat
a plurality of downward-projecting bumps 106a, 106b. 55 passengers may walk. Because non-skid protective cloth or
Bumps 106a are typically larger in circumference than bumps          pad 100 typically lacks an impermeable membrane, air may
106b. As shown in FIG. 1, larger bumps 106a are shown                flow though non-skid protective cloth or pad 100, thereby
having a greater height than smaller bumps 106b. In alternate        allowing the cloth and the surface therebelow to dry.
embodiments, larger and smaller bumps 106a and 106b,                    In an alternate embodiment, a third layer, typically an
respectively, may have a substantially identical height. In still 60 impermeable layer 114 may be interposed between woven
other embodiments, smaller bumps 106b may have a height              upper layer 102 and resilient layer 104. This is shown in FIG.
larger than larger bumps 106a.                                       3.
   Bumps 106a, 106b are interconnected by resilient web                 To quantify the slip resistance of non-skid protective cloth
segments 108. An inter-bump space 110 remains between                or pad 100, Coefficient of Friction Slide Angle Testing was
bumps. As seen in FIG. 1, inter-bump space is shown sche- 65 performed by SGS North America, Consumer Testing Ser-
matically to be between a larger bump 106a and a smaller             vices, 291 Fairfield Avenue, Fairfield, N.J., USA. The results
bump 106b. However, inter-bump space 110 may be between              of the testing were reported in Test Report No.
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3235547PP02R3 dated Sep. 9, 2013. Five samples of non-               Friction for wet samples, 458, was 0.589. Both average Coef-
skid protective cloth or pad 100 were submitted and tested in        ficients 456 and 458 exceeded the Coefficient of Friction
accordance with the TAPPI T548 test procedures.                      value of 0.5 as required in OSHA proposed rules for "Walking
   Referring now also to FIG. 4 there is shown a perspective,        and Working Surfaces; Personal Protective Equipment (Fall
schematic view of a slide angle testing apparatus for perform- 5 Protection Systems)" as published in the Federal Register
ing Coefficient of Friction Testing in accordance with the           68:23527-23568, Section 1910.22 General Requirements,
TAPPI T548 standard, generally at reference number 400.              Section 2. Slip-resistance.
   Tester 400 has a flat base portion 402 and an elevatable             "A reasonable measure of slip-resistance is static coeffi-
portion 404 hingedly attached to flat base portion 402 by a          cient of friction (COF). A COF of 0.5, which is based upon
hinge 406.                                                        10 studies by the University of Michigan and reported in "Work
   A protractor scale 408 is affixed to flat base portion 402 so     Surface Friction: Definitions, Laboratory and Field Measure-
as to measure the inclination of elevatable portion 404 relative     ments, and a Comprehensive Bibliography," is recommended
to flat base portion 402. An indicator 414 is attached to elevat-    as a guide to achieve proper slip-resistance. A COF of0.5 is
able portion 404 to provide an exact indication on protractor        not intended to be an absolute standard value. A higher COF
scale 408.                                                        15 may be necessary for certain work tasks, such as carrying
   A clamp 410 is provided to selectively secure a sample of         objects, pushing or pulling objects, or walking up or down
a first material for testing 416 against an upper surface of         ramps."
elevatable upper portion 404.                                           As seen in Notes 462, that testing was performed with a lab
   A sample 412 of the second material being tested is placed        environmental temperature and humidity of 23 ° C. and 50%
on an upper surface of the sample of the first material 416. 20 relative humidity. Specimens were acclimated for 24 hours
   A typical test is begun with elevatable upper portion 404 in      minimum prior to testing. The Neolite Sled Weight was 56
a lowered position flat against base portion 402. In other           pounds.
words, elevatable upper portion is at a zero degree elevation.          Since other modifications and changes varied to fit particu-
   A "smooth drive system" (i.e., a drive system that intro-         lar operating requirements and environments will be apparent
duces minimum vibration, jerkiness, etc.), not shown, acti- 25 to those skilled in the art, the invention is not considered
vated through shaft 418 is used to slowly elevate upperelevat-       limited to the example chosen for purposes of disclosure, and
able portion 404 until sample 412 slides along sample 416. It        covers all changes and modifications which do not constitute
important that the smooth drive system not impart vibration to       departures from the true spirit and scope of this invention.
the apparatus that could introduce inaccuracy into the test             Having thus described the invention, what is desired to be
results.                                                          30 protected by Letters Patent is presented in the subsequently
   Referring now also to FIG. 5, there are shown test results        appended claims.
for tests of novel drop cloth 100 (i.e., non-skid protective
cloth or pad), sample 412 sliding on a sample of laminate               What is claimed is:
wood flooring (i.e., sample 416).                                       1. A non-skid protective cloth or pad, consisting of:
   As may readily be seen, five specimens (i.e., samples) were 35       a) a single, absorbent, plain woven upper layer free from
tested in accordance with the TAPPI T548 test procedure.                   any projecting cut pile and having an upper and a lower
Colunm 430 shows the angle (i.e., the inclination of elevat-               major surface;
able upper portion 404) at which sample 412 slides along                b) a single lower, resilient layer having an upper and a
sample 416.                                                                lower major surface, said upper major surface of said
   A Static Coefficient of Friction may readily be calculated 40           single lower resilient layer being disposed adjacent said
from the side angle measured for a particular specimen. These              lower layer of said single, absorbent, woven upper layer,
Static Coefficient of Friction values are enumerated in col-               said lower resilient layer comprising a network of down-
unm 432.                                                                   ward projecting bumps interconnected one to another by
   Averages 436,438 are calculated for slide angles and Static             a resilient grid, said downward projecting bumps com-
Coefficient of Friction, respectively.                            45       prising bumps having at least two different circumfer-
   It will be noted that testing was performed with a lab                  ential sizes, said downward projecting bumps each hav-
environmental temperature and humidity of 23 ° C. and 50%                  ing a height, said height of bumps having the smaller of
relative humidity, reference number 440. Specimens were                    said at least two different circumferential sizes being
acclimated for 24 hours minimum prior to testing.                          greater than said height of bumps having said larger of
   These test results showed an average slide angle of 50                  said at least two circumferential sizes; and
approximately 43 degrees and an average Static Coefficient of           c) stitching disposed through both said single, absorbent,
Friction of approximately 0.9 when non-skid protective cloth               upper, woven layer and said single lower resilient layer;
or pad 100 is tested on a laminate flooring sample. Laminate            whereby when said lower major surface of said single
flooring was estimated to represent the most "slippery" sur-               lower resilient layer is placed on a support surface, a
face upon which a painter's drop cloth might be utilized.         55       Sliding Coefficient of Friction measured in accordance
   Samples of novel drop cloth 100 were also tested using a                with TAPPI T548 specification is greater than approxi-
horizontal dynamometer pull tester in accordance with the                  mately 0.75.
ASTM C1028-07 test procedure. The results of this test are              2. The non-skid protective cloth or pad as recited in claim
shown in FIG. 6.                                                     1, wherein said single, absorbent, woven, upper layer com-
   As may readily be seen, twelve specimens (i.e., samples) 60 prises a plain woven cotton fabric.
450 were tested in accordance with the ASTM C1028-07                    3. The non-skid protective cloth or pad as recited in claim
specification. Colunm 452 shows the angle the measured               1, wherein said single, absorbent, woven, upper layer com-
Static Coefficient of Friction measured with dry samples             prises canvas.
while column 454 shoes the Static Coefficient of Friction               4. The non-skid protective cloth or pad as recited in claim
measures with wet samples.                                        65 1, wherein said downward projecting bumps comprise a
   The average Static Coefficient of Friction for dry samples,       shape selected from the group: spherical, quasi-spherical, and
456, was 0.814. Likewise, the average Coefficient of Static          amorphous.
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                              9                                                                   10
  5. The non-skid protective cloth or pad as recited in claim         c) stitching disposed through both said single, absorbent,
1, wherein said downward projecting bumps are separated                  upper, woven layer and said single lower resilient layer;
one from another by an inter-bump space.                              whereby when tested in accordance with TAPPI T548
   6. A non-skid protective cloth or pad, consisting of:                 specification, an average slide angle is no less than
   a) a single, absorbent, plain woven upper layer free from 5           approximately 40°.
      any projecting cut pile and having an upper and a lower
      major surface;                                                  7. The non-skid protective cloth or pad as recited in claim
   b) a single lower, resilient layer having an upper and a        6, wherein said single, absorbent, woven, upper layer com-
      lower major surface, said upper major surface of said        prises a plain woven cotton fabric.
      single lower resilient layer being disposed adjacent said       8. The non-skid protective cloth or pad as recited in claim
                                                                10
      lower layer of said single, absorbent, woven upper layer,    6, wherein said single, absorbent, woven, upper layer com-
      said lower major surface comprising said lower resilient     prises canvas.
      layer comprising a network of downward projecting               9. The non-skid protective cloth or pad as recited in claim
      bumps interconnected one to another by a resilient grid,     6, wherein said downward projecting bumps comprise a
      said downward projecting bumps comprising bumps              shape selected from the group: spherical, quasi-spherical, and
      having at least two different circumferential sizes, said 15 amorphous.
      downward projecting bumps each having a height, said
      height of bumps having the smaller of said at least two         10. The non-skid protective cloth or pad as recited in claim
      different circumferential sizes being greater than said      6, wherein said downward projecting bumps are separated
      height of bumps having said larger of said at least two      one from another by an interbump space.
     circumferential sizes; and                                                           *   *   *    *   *




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